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                       UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF PENNSYLVANIA
___________________________________
                                    :
STARWOOD CAPITAL GROUP LLC,         :
                                    :
                  Plaintiff,        : CIV. ACTION NO. 2:14-cv-02351-TJS
                                    :
               v.                   : Judge: Timothy J. Savage
                                    :
1&1 MAIL & MEDIA INC. a/k/a 1&1     : ELECTRONICALLY FILED
INTERNET INC., WORLD MEDIA          :
      GROUP, and JOHN DOE,          :
                                    :
                  Defendants.       :
____________________________________:


              PLAINTIFF'S NOTICE OF VOLUNTARY DISMISSAL
     AS TO DEFENDANT 1&1 MAIL & MEDIA INC. A/K/A 1&1 INTERNET INC.


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A), Plaintiff Starwood Capital

Group LLC (“Starwood”), by and through its undersigned counsel, hereby voluntarily dismisses

Defendant 1&1 Mail & Media Inc. a/k/a 1&1 Internet Inc. from the above-captioned action,

without prejudice.


Dated: May 13, 2014

                                                   Respectfully submitted,

                                                   /s/ Tracy Zurzolo Quinn
                                                   Tracy Zurzolo Quinn, PA ID No. 71072
                                                   REED SMITH LLP
                                                   Three Logan Square
                                                   1717 Arch Street, Suite 3100
                                                   Philadelphia, PA 19103
                                                   Telephone: (215) 851-8286
                                                   Facsimile: (215) 851-1420
                                                   E-mail: tquinn@reedsmith.com

                                                   Attorney for Plaintiff
                                                   Starwood Capital Group LLC
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                                  CERTIFICATE OF SERVICE

                 I hereby certify that on this 13th day of May, 2014, I caused a true and accurate

copy of the foregoing PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO

DEFENDANT 1&1 MAIL & MEDIA INC. A/K/A 1&1 INTERNET INC. to be served on

the following:

                                Via Overnight Delivery and E-mail:

                           1&1 Mail & Media Inc. a/k/a 1&1 Internet Inc.
                                    Michael D. LiPuma, Esq.
                                Law Office of Michael D. LiPuma
                                 325 Chestnut Street, Suite 1109
                                     Philadelphia, PA 19106
                                    mlipuma@lipumalaw.com

                                       World Media Group
                                 90 Washington Valley Road, #1128
                                      Bedminster, NJ 07921
                                         corp@world.com

                                       World Media Group
                                 25 Mountainview Blvd., Suite 204
                                     Basking Ridge, NJ 07920




                                                       /s/ Tracy Zurzolo Quinn
                                                       Counsel for Plaintiff
